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EXHIBIT G
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From: Walls, Levi <LeviWalls@my.unt.edu>
Date: Sun, Nov 17, 2019 at 5:52 PM
Subject: Re: [EXT] Re: Meeting
To: Timothy Jackson <shermanzelechin@gmail.com>




Dear Dr. Jackson,



After watching Ewell’s presentation, I wanted to share some of my thoughts with you. I am sympathetic to his views, but
I also have important disagreements. I am inclined to be against the main points of his paper, but I also take issue with
some of the criticisms I have heard, especially in regard to tone. And, of course, the tone of discourse is very important
in these political discussions.

This particular paper comes at an interesting time for me. On a personal note, I’m very sympathetic to desires for
increased diversity for a few reasons. My wife and her family (which I am infinitely closer to than my own, who I’m
estranged from) have been the targets of racism; we’re also having a daughter very soon who will be mixed-race; and I
personally carry an extraordinary amount of white guilt and disgust for the state of my own country’s politics. Despite
these caveats, and the fact that Ewell and I obviously share political views, I find some of his points to be extremely
suspect:

    1. Schenker’s racist ideologies cannot be divorced from his analytical methods because he believed these views
       to be central to his theories: I find this point to be problematic and a little naïve. The suggestion is that
       Schenkerians of today are objectively incorrect in separating Schenker’s politics from his theories simply because
       Schenker asserted that they were connected. In other words, if Schenker said it, it must be true. The argument is
       based on the somewhat unthoughtful idea that the stated intentions of creators are utterly indisputable. Of
       course Schenker said his theories are undivorceable from his politics! This was a fashionable statement of the
       time, and the exact same thing was said by Lorenz. Brinkmann took Lorenz at his word and came to the
       conclusion that Lorenz’s desire to have every part of a piece serve a governing whole was totalitarian;
       McClatchie also argued that Lorenz’s politics and theories could not be separated, though he does it far more
       responsibly by refusing to leave Lorenz’s ideas unexamined. The fact of the matter is that Schenkerians today
       regularly violate Schenker’s original intentions for voice-leading analysis (mixing it with Weberian RN analysis
       including applied chords, using it for non-absolute music, and, indeed, music by non-Germans and non-whites).
       The suggestion that we are forced to think a particular way because Schenker did does not hold up to scrutiny.
    2. Hierarchical analysis—in which certain musical elements exert power over others—supports white power
       structures: I find it very difficult to swallow this claim. Structure of any kind is almost nonexistent without some
       form of hierarchy. I can see how it would be problematic if we were to suggest the following: the power
       structures of society map directly onto music; therefore, just as tonic is the governing sonority in tonal music,
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        the white race is rightfully the master of the lesser races. Ewell persuasively shows that Schenker may have
        thought this way, but (like in my first point) it does not mean that we have no choice but to throw up our hands
        and say “hierarchical analysis is inherently racist!”. If hierarchy is racist, we would also have to accept the idea
        that, say, the Fibonacci sequence is racist. The racist thing would be to claim that race does or should mirror this
        hierarchy.

But I also take issue with the tone of the responses. Race and gender are amazingly touchy issues because those in the
privileged group have conditioned responses that cause them to become defensive. These responses often manifest
themselves through sarcasm, strawman arguments, and condescension. For instance:

    1. The very first comment is troubling: “The talks at the plenary were demoralizing .” Not Ewell’s lecture
       specifically, but the plenary in general. Since the talks at the plenary were focused on issues of diversity, I find
       this first comment to be highly problematic. Granted, I’ve only seen Ewell’s talk s o I can’t speak to the content of
       the other papers; however, papers on issues in diversity are categorical failures if they do nothing to challenge
       the status-quo, which is something that I can see being “demoralizing” to those within privileged groups. I would
       also feel demoralized in the plenary, but with the understanding that these demoralizations serve to break me
       out of my racially/socially conditioned bubble. It’s incredibly unpleasant to acknowledge our implicit biases, but
       it’s important as well lest we go through life believing ourselves to be the center of the universe. Also, the
       statement that they “didn’t expect much” from his talk seems needlessly vicious toward a fellow scholar.
    2. The suggestion that Ewell pushed Schenkerianism as “the root of all white racism” is a mischaracterization,
       the aims of which seem to be to make his paper seem more ridiculous. Obviously, white racism has existed for
       far longer than Schenkerianism. This person seems to be letting their anger get the better of them.
    3. While it is odd that Ewell completely glossed over Schenker’s Jewish identity, I worry that the commenter is
       suggesting some sort of mutual exclusivity between Jewishness and racism. I may merely be misinterpreting
       their argument here, but obviously any person of any race or ethnicity has the potential to have racist views. If
       we accept the undeniable conclusion that Schenker had racist views, it doesn’t really make sense to let him off
       the hook simply because he faced his own prejudices. In fact, it makes it even worse, in a way! Of course, as I
       already expressed, I take issue with the projection of these views into Schenkerian analysis in general.
    4. Although I don’t necessarily disagree with the second commentator, I find their tone extremely
       unprofessional. The sarcastic comment that Ewell doesn’t find the study of music important is quite
       condescending. And, while they may be right to point out the contradiction in Ewell’s focus on Russian music
       theory, the way in which it was done did not do them credit.



Overall, I think that Ewell’s talk is asking us to be more introspective, and to approach culturally received truths with
skepticism. I find this practice to be very healthy (in theory), especially for those within the privileged classes. Just like
the deconstructions of philosophers like Foucault and those within the Frankfurt School, these skepticisms are important
tools for examining the hallowed truths of the world; like these philosophers, Ewell also goes too far in some of his
points. Yet, I do not think Ewell wants to throw out any methodologies. If he does, he’s clearly a fool; but I don’t think
that’s his aim (as some have led me to believe). Above all, I think Ewell is advocating for increased transparency in how
we teach music theory. I agree that nothing is apolitical, and it’s important to offer our students the whole story. But
never at the expense of repertoire, methodologies, or any form of knowledge. These things should never be sacrificed
for any reason!

Let me know what you think! I’d like to hear your opinions on these matters, even if they may be different from my own
(although I anticipate that we will agree on several points).


Kind regards,

              Levi
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From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Saturday, November 16, 2019 5:55 PM
To: Walls, Levi <LeviWalls@my.unt.edu>
Subject: [EXT] Re: Meeting

Dear Levi,

I presume that you are referring to Ewell's talk. I have not watched it yet because I suppose that I will find it difficult to
put up with. In any event, perhaps a response in the JSS will be warranted.

I sent this note to other Schenkerian colleagues at UNT:

Dear Schenkerian colleagues,

Not everyone who attended the SMT was enthusiastic about Ewell's talk. I forward a comment I received today from a
colleague with some Schenkerian chops:

"The talks at the plenary were demoralizing. I didn't really expect that much, but Philip Ewell’s vitriolic attack on
Schenkerism as the root of all white racism was disgusting.

He received a standing ovation. They need to read Richard Kramer’s Spectrum review of the collection of Schenker's
correspondence.

It's nice that Ewell cynically discussed intellectual anti-Semitism at the end of his talk, without mentioning once that
Schenker was a Jew, that all of his Jewish disciples had to flee, that those who did not were murdered by the Nazis
(including Schenker's wife and most talented students, i.e., Angelika Elias) and that they were hated here when they
arrived. Instead, he accused them of institutionalizing racism in music theory, precisely because all of them abhor
Schenker’s political ideas."

I place in bold type some of the concerning comments.

When I was a student at CUNY, Saul Novack arranged for me to meet privately with Felix Salzer, who had recently retired
from teaching because of the onset of dementia. Fortunately, when I visited him in his apartment, he was still almost
completely lucid, and I spent the better part of a day just listening to him reminisce about his Vienna years, immigration
to the US, studying with Schenker himself in the last year of his life. Later, after Salzer's death, I also met with his wife
and had several long conversations with her about related topics. It is a pity that I did not record these discussions.
During our conversation, Hans Weisse did not come up. However, I did discuss the topic of anti-Semitism with Weisse's
daughter, who died some years ago, and that time I DID videotape the conversation. I need to dig out the tape and
digitize it.

The fact of Schenker's Jewishness, and that of most of his students, came up repeatedly in all of these conversations in
different contexts. It is of central importance to understanding the reception of Schenkerian Analysis first in Europe, in
the period of the rise of Nazism, and then in early post-war America.

I need to listen to Ewell's talk before reacting. However, if it is indeed true that he does not mention Schenker's own
Jewish identity, that raises questions.

This comment also came:


        I have known about Schenker’s repugnant political views for fifty years. At the time,
        Schenker’s ideas about music were mostly inaccessible; Ernst Oster’s translation of Der
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freie Satz was not published until 1979, and there were few advocates of Schenker in
American universities. There was no point in discussing Schenker’s politics.

Schenker eventually became fashionable, but in a way that was not surprising–as William
Rothstein said in 1985 at the Mannes Schenker conference –he was “Americanized.” His
musical theories were transformed into “Schenkerian analysis,” and what Rothstein
described humorously as “Schenker-flavored” techniques.

Ewell said that Schenker is the dominant music theorist in American university theory
programs: ”Schenker is our shared model, whether we study tonal music, popular music,
or post-tonal music.” (2:23) Would Schenker have recognized the uses to which his
theories have been put? Of course not; he would have rejected out of hand almost all of
what passes for discussion of his ideas. Just think: Schenker as analyst of pop and atonal
music.

To simplify: The Jews are our misfortune.
To summarize, Wittgenstein and Schenker participated in the same intellectual culture;
eventually Wittgenstein was able to work through these problems in a more intelligent
manner.

Ewell also dropped Kant’s name in his discussion of intellectual anti-Semitism. This is a
real problem, but it’s important to note that Schenker’s artistic elitism was a response to
Kant’s concept of the sublime [and NOT an expression of bigotry of any kind]. Aside from
Kant’s central position in German culture, he was an extraordinarily important figure for
acculturated German Jews during the nineteenth century; plenty has been written about
that.

Since politics is so important for the “new music theory,” theory programs should require
one semester of modern European history, and one semester of modern Jewish history.
They could, of course, have students study music as well - if they think it’s really
necessary.

Ewell’s conclusions: Schenker’s concepts of scale degrees and dissonance resolution is
inherently racist.[To study voice leading is racist] (2:30) Study of Schenker’s musical
ideas has helped to legitimize harmful stereotypes about blacks and other people of color.
(2:32) “Diversity" is a cynical strategy to reinforce inequality. (2:32) Reduce the study of
Western music theory to two semesters (this would certainly solve a lot of problems,
because then no one would even be able to attempt to study Schenker’s ideas, which is
apparently the point). (2:34) Scrap the German requirement for graduate students (ditto).
(2:34)

If we critique the history of Western music, we will quickly find that almost everyone is
guilty of virulent anti-Semitism and probably racism as well, not just Wagner. That doesn’t
mean that we should stop studying music.

What I would like to know is how Ewell’s advocacy of Russian music theory–product of an
anti-democratic and deeply prejudiced culture–helps to negate music theory’s “white
racial frame.” In my opinion, it just reinforces it. Other than Stravinsky, and, perhaps,
Scriabin, how central is Russian music to the discipline? I would suggest, following the


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       logic of Ewell’s “analysis" of Schenker, that the study of Russian music and music theory
       simply be excised from the curriculum.
       Let's discuss all this.


       Best wishes, Tim

With best wishes,

Tim

On Fri, Nov 15, 2019 at 10:40 AM Walls, Levi <LeviWalls@my.unt.edu> wrote:
 I would also be very interested in discussing a particular Schenker paper from SMT. You've likely heard about
 it, as it caused quite a stir. I was very ambivalent about it because it suggested that analysis that utilizes levels
 of hierarchy is inherently racist, which strikes me as naive. Reinhold Brinkmann made a very similar claim
 about Lorenz, saying that his desire to have every part of a piece serve some structural whole was totalitarian
 (and obviously linking that idea to his political beliefs).

       - Levi Walls

 From: Walls, Levi
 Sent: Friday, November 15, 2019 8:18 AM
 To: Timothy Jackson <shermanzelechin@gmail.com>
 Subject: Meeting

 Dear Dr. Jackson,

       Hope you are well! When would you like to get together to talk about Bach? Unfortunately, I haven't
 had any time to devote to Berlioz lately, as I've been swamped with classes and private teaching. But I would
 be happy to discuss the Passion in more detail. Of course, you've dedicated considerably more time to it than
 I have but I can surely follow you and share any thoughts/questions! At the moment, I can't leave Denton
 Thursday-Sunday because my wife takes the car to work all day. But I can travel monday- wednesday, or meet
 on campus any day.

      Regards,

                    Levi




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